                                United States of America
                                     District Court
                              Eastern District of Wisconsin


United States of America,

                             Plaintiff,

v.                                                    Case No. 21-CR-57

Jovante Champion,

                             Defendant.


                  Defendant’s Second Revise Notice of Alibi Defense


        Now comes the above-named defendant, by his attorney, and pursuant to Rule
12.1(a)(2) FRCrP, responds to the government’s request for notice of alibi defense as
follows:
     1. The defendant, Jovante Champion, hereby puts the government on notice that
        he may present evidence during trial that, during the charging period of the
        indictment, and on the specific dates set forth in the government’s request for
        notice of alibi defense, he was never in the State of Tennessee or the State of
        Texas. Champion went to Chicago, Illinois, on several occasions, but he was not
        at the locations alleged in the discovery materials.   He was at the Moorish
        Temple in Chicago. Except as set forth below, Champion may not be able to
        specify his exact location during each of the dates that the government’s notice
        claims he was in Tennessee, Texas, or Illinois. However, Champion was most
        likely in the Milwaukee, Wisconsin area. Champion is able to present evidence
        of his exact location as follows:
           a. On June 13, 2019, for the entire day, he was in Minneapolis, MN
           b. From May 6, 2019 to August 2, 2019 he was employed in Milwaukee by
               UMOS. During that period he worked, on average, forty hours per week.

                                            1

           Case 2:21-cr-00057-JPS Filed 06/23/22 Page 1 of 2 Document 42
          c. Champion will present evidence that on several occasions he went to
              Chicago, IL to provide security at the Moorish Temple.
  2. In addition to the possibility that Champion may testify, Champion reserves the
       right to call the following persons as witnesses at trial concerning his partial alibi
       defense:
          a. Cindy Papka, Private Investigator, P.O. Box 20817, Milwaukee, WI
             414-559-5953
          b. Hector Lemar, UMOS, 2701 S. Chase Ave., Milwaukee, WI
             414-389-6000
          c. Travonte Champion, 4467 N. 53rd St., Milwaukee, WI (telephone
             number unknown)
          d. Trey Champion, 4467 N. 53rd St., Milwaukee, WI (telephone number
             unknown)
          e. Naomi Weightman, (address unknown) 414-241-3153
          f. Rhoda Barnes, 4467 N. 53rd St., Milwaukee, WI
          g. Kieza Hogan Bey, 2340 N. 36th St., Milwaukee, WI 414-2486972

  3.   Champion is aware of the statutory obligation to supplement this notice if more
       information becomes available. It is anticipated that more information will, in fact,
       become available.     Cindy Papka is attempting to obtain UMOS employment
       records, and will be submitting reports concerning her interviews of the
       witnesses.
       Dated at Milwaukee, Wisconsin, this 21st day of June, 2022.

                                                  Law Offices of Jeffrey W. Jensen
                                                  Attorneys for the Defendant

                                                  /s/   Jeffrey W. Jensen
                                                        State Bar No. 01012529
111 E. Wisconsin Ave.
Suite 1925
Milwaukee, WI 53202-4825

414.671.9484




                                             2

         Case 2:21-cr-00057-JPS Filed 06/23/22 Page 2 of 2 Document 42
